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                      Appeal No. 2022−2090
                       ______

   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                     ______

                        Koss Corporation,
                           Appellant,

                                v.

                        Bose Corporation,
                            Appellee.
                        _____

   On Appeal from the United States Patent and Trademark Office,
       Patent Trial and Appeal Board in No. IPR2021−00297
                         _____

          APPELLANT KOSS CORPORATION’S
RESPONSE TO APPELLEE BOSE CORPORATION’S MOTION TO
                      DISMISS
                  _____

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I.    INTRODUCTION

      Appellee Bose Corporation (“Bose”) has moved to dismiss Appellant Koss

Corporation’s (“Koss”) present appeal (the “Motion”) as moot, arguing that “the

claims at issue in this appeal (i.e., claims 11 and 12) have been finally adjudicated

invalid … and can no longer be asserted against Bose.” Dkt. No. 30 (“Bose Mot.”)

at 1. In doing so, Bose’s arguments, and its cited law, make clear why the Motion

must be denied.

      Bose’s Motion is fatally flawed. Bose premises its entire Motion on an

unsupportable and legally erroneous application of the facts relevant to this appeal.

Specifically, Bose incorrectly asserts that the district court in Koss Corp. v.

Plantronics, Inc., 4:21-cv-03854-JST (N.D. Cal.) (“Plantronics”) rendered a final

judgment that claims 11 and 12 of U.S. Patent No. 10,368,155 (“the ’155 patent”)

are invalid and effectively “eliminate[d] this Court’s ability to grant any effectual

relief” to Koss. Bose Mot. 1. This is not true. Although the district court in

Plantronics granted Plantronics’ motion to dismiss Koss’ first amended complaint

as pled, it also granted Koss leave to file a second amended complaint. In

compliance with the court’s order, Koss timely filed a second amended complaint

(hereinafter, “Amended Complaint”) that not only included new factual allegations

not pled in the first amended complaint and, therefore, not addressed by the district

court in its initial order, but also did not include allegations of infringement of the



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’155 patent. Pursuant to black letter law, once Koss filed its Amended Complaint,

Koss’ original complaint (and the allegations therein) became a legal nullity and

removed any possibility for the district court to render a “final judgment” regarding

the ’155 patent. Accordingly, no appealable order exists in the Plantronics case.

      As set forth more fully below, Bose presents the Court with an inaccurate

recitation of the facts of the Plantronics case and relies upon wholly inapposite case

law to support its Motion. Because the district court in Plantronics never issued a

final judgment that any claim of the ’155 patent is invalid and could not do so in

view of Koss filing its Amended Complaint, this Court should deny Bose’s Motion

which requests the Court to rule upon a dispute that does not exist.

II.   LEGAL STANDARDS

      In an appeal, the “[d]efendants bear a ‘heavy burden’ to establish mootness.”

Ctr. For Biological Diversity v. Exp.-Imp. Bank of the United States, 894 F.3d 1005,

1011 (9th Cir. 2018). The party asserting mootness “bears the burden of coming

forward with the subsequent events that have produced that alleged result.” See

Cardinal Chem. Co. v. Morton Int’l, Inc., 508 U.S. 83, 98 (1993). A case should not

be dismissed as moot unless “interim events have ‘completely and irrevocably

eradicated the effects of’ an allegedly improper ruling.” See In re Pintlar Corp., 124

F.3d 1310, 1312 (9th Cir. 1997) (quoting Wong v. Dept. of State, 789 F.2d 1380,




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1384 (9th Cir.1986)). Bose has failed to carry its heavy burden of establishing the

Plantronics’ court issued a final judgment that renders Koss’ appeal moot.

       “A ‘final judgment’ for purposes of collateral estoppel can be any prior

adjudication of an issue in another action that is determined to be ‘sufficiently firm’

to be accorded conclusive effect.” Luben Indus., Inc. v. United States, 707 F.2d

1037, 1040 (9th Cir. 1983). Further, “a judgment will ordinarily be considered final

in respect to a claim . . . if it is not tentative, provisional, or contingent and represents

the completion of all steps in the adjudication of the claim by the court.” United

States v. Arpaio, 951 F.3d 1001, 1007 (9th Cir. 2020); RESTATEMENT (SECOND) OF

JUDGMENTS § 13 cmt. b (AM. L. INST. 1982). Importantly, “the availability of

appellate review is a key factor in determining the preclusive effect of a judgment.”

Arpaio, 951 F.3d at 1007.

       The law of the regional circuit is applied to determine whether issue

preclusion applies. Soverain Software v. Victoria’s Secret Brand, 778 F.3d 1311,

1314 (Fed. Cir. 2015). Because the Plantronics case was venued in the District

Court for the Northern District of California, Ninth Circuit law applies to Bose’s

Motion. Pursuant to Ninth Circuit law, “orders dismissing claims with leave to

amend are considered not final and thus not appealable as of right.” Weston Fam.

P’ship LLLP v. Twitter, Inc., 29 F.4th 611, 618 (9th Cir. 2022). Additionally, “it is

well-established in [the Ninth Circuit] that an ‘amended complaint supersedes the


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original complaint and renders [the original complaint] without legal effect . . . .”

Ramirez v. Cnty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015) (quoting

Forsyth v. Humana, Inc., 114 F.3d 1467, 1474 (9th Cir. 1997)). As the Ninth Circuit

has plainly instructed, when an amended complaint is filed, the original complaint

“cease[s] to exist” and becomes a legal nullity. Id. Here, Bose repeatedly makes the

conclusory allegation that “the district court’s decision that the ’155 patent claims

are invalid is plainly final.” Bose simply is wrong as a matter of law.

III.   ARGUMENT

       A.    There is No Final Judgment Regarding the ’155 Patent

       The district court’s order granting Plantronics’ motion to dismiss, with leave

for Koss to file an amended complaint, “did not constitute a final judgment.” Jung

v. K. & D. Min. Co., 356 U.S. 336–37 (1958). Indeed, when Koss filed its Amended

Complaint, that Amended Complaint superseded the prior operative complaint, and

that complaint “no longer perform[ed] any function in the case.” Falck N. Cal. Corp.

v. Scott Griffith Collaborative Sols., LLC, 25 F.4th 763, 765 (9th Cir. 2022) (citing

6 C. Wright, A. Miller & M. Kane, Federal Practice and Procedure § 1476 & n.1 (3d

ed. 2005)) (emphasis added). Thus, the district court’s decision to grant Koss leave

to file an amended complaint rendered the Court’s motion to dismiss decision a legal

nullity once Koss filed its Amended Complaint. See, e.g., Ramirez, 806 F.3d at 1008

(“Because Defendants’ motion to dismiss targeted the Plaintiff’s First Amended


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Complaint, which was no longer in effect, we conclude that the motion to dismiss

should have been deemed moot before the district court granted it.”).

      Ignoring the legal nullity of the district court’s motion to dismiss decision,

Bose makes two fundamental legal errors in arguing Koss’ appeal is moot. First,

Bose errs when it asserts that the decision was a final judgment that Koss could have

appealed. Bose Mot. 6. On the contrary, “the district court’s decision to enter an

order permitting the plaintiff to file an amended complaint after entering the order

of dismissal demonstrated that the first dismissal was not intended to be a final and

appealable order.” Disabled Rts. Action Comm. v. Las Vegas Events, Inc., 375 F.3d

861 (9th Cir. 2004). Second, Bose then doubles down on its first error by arguing

that the district court’s non-final ruling on the validity of the ’155 patent has

preclusive effect. The district court’s order granting Plantronics’ motion to dismiss

with leave for Koss to file an amendment was a non-final and non-appealable order,

and therefore was not “sufficiently firm” to be accorded conclusive effect. See

Luben Indus. Inc., 707 F.2d at 1040 (affirming district court’s decision that an

interlocutory opinion “was not sufficiently firm to give it collateral estoppel effect”

because “it could not have been the subject of an appeal at the time the instant case

was decided”). Moreover, because Koss did not assert infringement of the ’155

patent in the Amended Complaint, the district court’s non-final motion to dismiss

ruling as to the ’155 patent has no preclusive effect. See Canyon Pres. Council v.


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U.S. Forest Serv., 403 F.3d 683, 690 (9th Cir. 2005) (“It is axiomatic that prejudice

does not attach to a claim that is properly dropped from a complaint under Rule 15(a)

prior to final judgment.”); see also First Resort, Inc. v. Herrera, 860 F.3d 1263, 1274

(9th Cir. 2017) (concluding that claim was “effectively abandon[ed]” when court

dismissed the claim with leave to amend, but claim was not re-plead in amended

complaint).

      Because the district court granted Plantronics’ motion to dismiss with leave

for Koss to replead, the order cannot be viewed as anything other than the court’s

analysis of perceived deficiencies in the complaint itself. See Thinket Ink Info. Res.

v. Sun Microsystems, Inc., 368 F.3d 1053, 1061 (“Dismissal without leave to amend

is improper unless it is clear . . . that the complaint could not be saved by any

amendment.”). Indeed, by permitting Koss to file an amended complaint, the district

court recognized that Koss could allege facts that would change the outcome of the

prior motion to dismiss. Otherwise, the district court, as it has done in other cases,

would have deemed an amendment futile and ordered the dismissal to be with

prejudice. See, e.g., PlanetID, LLC v. Digify, Inc., No. 19-cv-04615-JST, 2021 WL

567371 (N.D. Cal. Jan. 12, 2021) (“[Judge Tigar] grants [Defendant’s] motion to

dismiss with prejudice on the ground that the asserted claims are ineligible under 35

U.S.C. § 101.”).




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       The district court’s signaling that a case could proceed confirms that the order

with leave to replead is not, and could not be, a final judgment. WMX Techs., Inc.

v. Miller, 104 F.3d 1133, 1136–37 (9th Cir. 1997) (“[W]hen a district court expressly

grants leave to amend, it is plain that the order is not final . . . [and] [a] final judgment

must be obtained before the case becomes appealable.”). No final judgement was

obtained because Koss repled, nullifying the initial complaint.

       Implicitly conceding that the district court’s motion to dismiss ruling cannot

constitute a final judgment, Bose throws a final Hail Mary by claiming it was an

interlocutory ruling that “merged” into a final judgment when the parties’ filed their

stipulated dismissal. Bose Mot. 5. An interlocutory order is an “order[] which may

be appealed either at the time of entry or after the final judgment.” Williams v.

Boeing Co., 681 F.2d 615, 616 (1982). Contrastingly, “when a district court

expressly grants leave to amend, it is plain that the order is not final. Something

more is both anticipated and required. . . . A final judgment must be obtained before

the case becomes appealable.” WMX Techs., Inc., 104 F.3d at 1137. Under Ninth

circuit law, an order granting a motion to dismiss with leave to amend becomes a

“legal nullity” upon the subsequent filing of an amended complaint and is not subject

to interlocutory appeal. See Falck N. Cal. Corp., 25 F.4th 763, 765–66 (dismissing

as moot an interlocutory appeal challenging the denial of motion to dismiss

plaintiff’s complaint with leave to amend followed by plaintiff filing amended


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complaint). As established above, once Koss filed its Amended Complaint, the

ruling was a legal nullity. Thus, there was no interlocutory order to be “merged”

into any purported final judgment.

      B.     Bose’s Case Law Is Inapposite

      Because Bose wrongly argues that the district court’s motion to dismiss order

was a final judgment, none of the cases it relies upon support its Motion.

      In Blonder-Tongue Laboratories, Inc. v. University of Illinois Foundation,

402 U.S. 313 (1971), the district court declared the patent at issue invalid after a full

bench trial. On appeal, the Court of Appeals for the Eighth Circuit affirmed.

Subsequently, the patent owner asserted the same patent but in a different district

court and against a different alleged infringer. In that case, the district court found

the patent to be valid and infringed. The Court of Appeals for the Seventh Circuit

affirmed, and the Supreme Court of the United States granted certiorari. The

Supreme Court held that a patentee is estopped from asserting a patent that has been

declared invalid in a prior suit, unless the patentee demonstrates “that he did not

have ‘a fair opportunity procedurally, substantively and evidentially to pursue his

claim the first time.’” Id. at 333 (quoting Eisel v. Columbia Packing Co., 181 F.

Supp. 298, 301 (D. Mass. 1960)). Koss does not dispute that this is an accurate

statement of the law. However, unlike in Blonder-Tongue, the ’155 patent has not

“been much litigated since it was granted,” and not a single district court has


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rendered a final judgment regarding the validity of the ’155 patent under 35 U.S.C.

§ 101.

         In Apple Inc. v. Voip-Pal.com, Inc., 976 F.3d 1316 (Fed. Cir. 2020), an IPR

appeal was pending on claims that the district court found invalid on a final judgment

that this Court affirmed. While the Court dismissed the appeal as moot to the extent

that the appeal had “overlapping claims” with the affirmed judgment of invalidity,

the Federal Circuit held that the appeals were not moot as to the “nonoverlapping

claims” because they were not part of the district court’s ineligibility determination.

Accordingly, the Court’s decision in Apple Inc. demonstrates that Bose’s Motion

should be denied and that this appeal is not moot because the asserted claims of the

’155 patent do not “overlap” with any prior district court’s final judgment of

invalidity, let alone one upheld by this Court.

         In XY, LLC v. Trans Ova Genetics, 890 F.3d 1282 (Fed. Cir. 2018), the patent

owner was collaterally estopped from asserting the patent in future proceedings

because the PTAB issued a final written decision that the asserted claims were

unpatentable, and this Court affirmed. The decision in XY, LLC is inapplicable here

because there has been no PTAB final written decision that any claim of the ’155

patent is invalid, much less a final decision that is affirmed by this Court. See XY,

LLC, 890 F.3d at 1294 (Fed. Cir. 2018) (“In a separate order issued today, we affirm




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the Board’s decision. That affirmance renders final a judgment on the invalidity

of the [patent].”) (emphasis added).

      Furthermore, in Visa Inc., v. Universal Secure Registry, LLC, 857 F. App’x

1029 (Fed. Cir. 2021), this Court vacated the PTAB’s final written decision that the

petitioner failed to show that the challenged claims were unpatentable because this

Court, in a previous case, affirmed a district court’s judgment that all claims of the

challenged patent were invalid. Similarly, in Apple Inc. v. Universal Secure Registry

LLC, 857 F. App’x 658 (Fed. Cir. 2021), this Court dismissed an IPR appeal with

respect to overlapping claims that had been held invalid by a district court and

affirmed by this Court. In contrast to the final judgments in Visa, Inc. and Apple,

Inc., the Federal Circuit has never affirmed any district court’s final judgment that

all claims of the ’155 patent are invalid under § 101 because there has never been a

final judgment to that effect and no judgment has ever reached this Court.

      United States v. Munsingwear, Inc., 340 U.S. 36 (1950) and Angel v.

Bullington, 330 U.S. 183 (1947), are similarly immaterial as they both dealt with the

consequences of a party’s failure to appeal a final judgment. See Munsingwear, 340

U.S. at 40 (applying res judicata to a final judgment where party could have filed a

motion to vacate the judgment but “did not avail itself of the remedy it had to

preserve its rights.”); Angel, 330 U.S. at 186 (applying res judicata to a final

judgement from the North Carolina Supreme Court where party rather than


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appealing to the Supreme Court of the United States, filed a “carbon copy of the

complaint” in federal court). Unlike in Munsingwear and Angel, Koss could not

appeal the district court’s order granting Plantronics’ motion to dismiss once Koss

availed itself of the court’s grant of leave to amend. See WMX Techs. v. Miller, 104

F.3d at 1136–37; see also Weston Family P’ship, 29 F.4th at 618 (“[T]ypically,

orders dismissing claims with leave to amend are considered not final and thus not

appealable as of right.”).

      Because the district court in Plantronics never issued a final judgment that

any claim of the ’155 patent is invalid and no such order could be issued in view of

the Amended Complaint, this appeal is not moot. Accordingly, Bose’s Motion

should be denied.

      C.     Bose’s Logic Would Lead To A Chilling Effect On Settlement

      Rather than supporting its Motion, Bose’s discussion of the burdens it believes

should be placed on parties settling a dispute only serves to confirm why black letter

law on final judgments requires denial of Bose’s Motion. See 28 U.S.C. § 1291

(“The court of appeals . . . shall have jurisdiction of appeals from all final decisions

. . . .”). According to Bose, settling parties would be subject to preclusion for any

decisions in a case to be settled unless the parties scoured the docket for intervening

non-final rulings and either requested those rulings be vacated or appealed those

non-final decisions. Such a precedent would be incredibly wasteful, leading to


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additional years of time added to each settlement for the appeal process to progress

(between parties that have ostensibly resolved their dispute and no longer wish to

expend time or money on the dispute) before finally being able to dismiss the case.

      Because such burdens would be wholly contrary to the efficient resolution of

cases and disputes, Bose provides no support for its argument. Instead, Bose relies

on case law that is once again inapplicable. In Hartley v. Mentor Corp., 869 F.2d

1469 (Fed. Cir. 1989), the district court held that a subsequent settlement agreement

did not moot a court’s prior final judgment that the patent at issue was invalid, and

the Federal Circuit affirmed. This Court reasoned that “a final judgement was

entered in the [prior] case, which is the basis for the estoppel.” Id. at 1472. Unlike

in Hartley, the district court’s order granting Plantronics’ motion to dismiss with

leave for Koss to file an amendment was not a final judgment, and therefore has no

preclusive effect.

IV.   CONCLUSION

      In short, this appeal concerning the ’155 patent is not moot because neither a

district court, nor the PTAB has entered a final judgment regarding the validity of

the ’155 patent under 35 U.S.C. § 101. For at least the foregoing reasons, Bose’s

Motion should be denied or in the alternative, held in abeyance until the decision on

the underlying appeal can be issued.

Dated: October 2, 2023                 Respectfully submitted,

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                          K&L GATES LLP


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                     UNITED STATES COURT OF APPEALS FOR THE
                                FEDERAL CIRCUIT

                                CERTIFICATE OF INTEREST
            Case Number 2022-2090
      Short Case Caption Koss Corp. v. Bose Corp.
       Filing Party/Entity Koss Corp.


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  which represented entities the answers apply; lack of specificity may result in non-
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  check the relevant box. Counsel must immediately file an amended Certificate of Interest if
  information changes. Fed. Cir. R. 47.4(b).



 I certify the following information and any attached sheets are accurate and complete to the best
 of my knowledge.




Date: Oct. 2, 2023                            Signature:     /s/ Mark G. Knedeisen
                                              Name:           Mark G. Knedeisen




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       1. Represented                  2. Real Party in      3. Parent Corporations
           Entities.                       Interest.           and Stockholders.
     Fed. Cir. R. 47.4(a)(1).        Fed. Cir. R. 47.4(a)(2).  Fed. Cir. R. 47.4(a)(3).
   Provide the full names of Provide the full names of Provide the full names
   all entities represented by all real parties in interest of all parent
   undersigned counsel in      for the entities. Do not      corporations for the
   this case.                  list the real parties if they entities and all publicly
                               are the same as the           held companies that own
                               entities.                     10% or more stock in
                                                             the entities.
                                    ☒ None/Not Applicable           ☒ None/Not Applicable

              Koss Corp.




                                ☐      Additional pages attached


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4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected
to appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
      ☒     None/Not Applicable       ☐      Additional pages attached




5. Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include the
originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
R. 47.5(b).
      ☐     None/Not Applicable       ☐      Additional pages attached
          Koss Corp. v. Skullcandy, Inc., Nos. 2:21–cv–00203 (D. Utah)

            Koss Corp. v. PEAG LLC, No. 3:21–cv–01177 (S.D. Cal.)

            Koss Corp. v. Bose Corp., No. 1:20-cv-12193 (D. Mass.)

               Koss Corp. v. Vidal, Case No. 2022-2091 (Fed. Cir.)

            Koss Corp. v. Bose Corp., Case No. 2023-1173 (Fed. Cir.)


6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
      ☒     None/Not Applicable       ☐      Additional pages attached




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                            CERTIFICATE OF SERVICE
      I hereby certify that, on the 2nd day of October, 2023, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system which thereby

served a copy upon all counsel of record via email or electronic means.



                                              /s/ Mark G. Knedeisen
                                              Mark G. Knedeisen




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